               U.S. Department of Health and Human Services
                 Office of the Assistant Secretary for Health
                         Office of Population Affairs




                       Tennessee Department of Health
                               FPHPA006553
                       Title X Program Review Report



                      Virtual Program Review (VPR)
                              July 11-15, 2022




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Grantee Information

Grantee Name:            Tennessee Department of Health
Grantee Number:          FPHPA006553
Project Period:          April 1, 2022 to March 31, 2027
Budget Period:           April 1, 2022 to March 31, 2023

                         Federal Share:           $7,108,750
                         Non-federal Share:       $8,594,213

                         Total:                   $18,627,963

                         Program Income:          $0

Project Director:        Danni Lambert
Project Address:         710 James Robertson Pkwy, 64 Andrew Johnson Tower
                         Family Health and Wellness
                         Nashville, TN 37243

Virtual Visit Dates:     July 11-15, 2022

Service Sites Visited:   Telehealth
                         710 James White Parkway, Nashville TN 37243
                         Hamilton Clinic
                         Main 921 E. 3rd Street Chattanooga, TN 37403
                         Polk County Benton Clinic
                         2279 Parkside Road, Benton, TN


Review Team:             Tisha Reed – OPA Project Officer
                         Joyce McIntyre – Administrative Reviewer
                         Karen Ward – Clinical Reviewer
                         Valerie Butt – Fiscal Reviewer




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Overview of the Project

The Tennessee Family Planning Program (TFPP) is a Tennessee Department of Health program
that has served as a Title X grantee since 1972. The Tennessee Department of Health has a strong
public health infrastructure to provide administrative, clinical and financial management support to
a network of 124 sites providing family planning services across all 95 counties in the state. If
funded, at least 75% of clients will be at or below 100% of the Federal Poverty Level. The TFPP
provides services that are client-centered, culturally and linguistically appropriate, inclusive, and
trauma informed. The TFPP works to protect the dignity of the individual and ensure equitable and
quality service delivery. Tennessee Family Planning Program services encompass a broad range of
medically approved family planning methods ranging from abstinence, sterilizations and LARCs to
natural family planning and fertility awareness based methods, pregnancy testing and counseling,
achieving pregnancy, basic infertility services, preconception and interconception care, and
STD/HIV testing and treatment. Multiple sites also provide primary care, preventive health and
dental services. The TFPP provides confidential services to minors, promotes parental involvement,
and complies with all Title X and state requirements regarding mandatory reporting. Abstinence
(sexual risk avoidance) and counseling related to coercive relationships is also provided to all
adolescent clients and others as appropriate. As a leading expert on family planning service
delivery, the TFPP has established partnerships with community-based and faith-based
organizations that enhance clients’ ability to achieve optimal health outcomes. The Tennessee
Department of Health is the only agency with the capacity, staff, and expertise to administer Title X
funds with integrity and without a gap in services in the state of Tennessee.


The Title X Virtual Program Review Process and Review Tool

OPA notified the grantee of the program review, held July 11-15, 2022, earlier this year. Due to the
COVID pandemic and response across the nation, the traditional in-person program review shifted
to be a virtual program review (VPR). OPA requested the grantee to provide certain materials
(policy and procedure manuals, etc.) in advance of the review by using the MAX.gov platform.
OPA also provided the grantee with a copy of the OPA program review tool, updated with the Title
X 2021 new rule. This tool is the instrument used by the review team during the VPR.

The review team utilized the tool to systematically observe and evaluate program operations,
seeking evidence of compliance with the Title X regulations and implementation of the Quality
Family Planning recommendations.

Assessment of Compliance with Title X Program Expectations
This assessment evaluated the grantee’s compliance with the statute, regulations, legislative
mandates, and OPA expectations governing the Title X grant program. For these expectations, the
grantee received an assessment of compliance and a rating of “met,” “not met,” or “N/A” (not
applicable). The evidence of meeting minimum criteria was determined based on both grantee and
subrecipient records and observation at grantee administrative offices and selected service sites as
part of the VPR process. Evidence may include but is not limited to, policies, procedures, protocols,
documentation of training, direct visual confirmation per review team consultants and/or OPA staff
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to ensure that what is contained in written policy is actually implemented, or any other form of
documentation that substantiates that the project is operating in accordance with the Title X
Program expectations.

Assessment of the Implementation of the Quality Family Planning Recommendation
This assessment evaluated the extent to which the grantee has implemented key aspects of QFP.
The grantee was assessed utilizing the listed criterion in OPA’s QFP Clinical Assessment Checklist.
The criterion identifies evidence of various aspects of quality services. The number of quality
indicators identified as in place serve as a means for recognizing grantee achievements, as well as
identifying areas not in place and therefore in need of improvement and/or technical assistance.

Conclusion of Review and Evaluation Standards
At the conclusion of the review, there was a Close-Out Presentation. Each review consultant
reported on a few Areas of Success (AOS) and a few Areas of Improvement and Required Action
(AOI) related to compliance and quality in their respective areas. Additionally, the reviewers also
provide technical assistance to support improvements throughout the VPR.

This report is a more comprehensive compilation of the AOI and contains actions for addressing the
AOI. If there was not sufficient evidence of compliance, the expectation is documented as being
‘Not Met.’ Each item ‘Not Met’ has a related ‘Area of Improvement.’ Each AOI is accompanied by
a Required Action to aid the grantee in being compliant with Title X expectations. Each AOI is
accompanied by an “A” if it is an Administrative Area of Improvement (AOI); “C” if it is a
Clinical Area of Improvement (AOI), and “F” if it is a Fiscal Area of Improvement (AOI).

‘Best Practice Suggestions’ are recommendations that OPA encourages grantees to adopt to
improve certain aspects of programming beyond meeting compliance expectations; however,
grantees are not required to adopt these suggestions.




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                                    Project Administration

Expectation 1:

Provide services without subjecting individuals to any coercion to accept services or to employ or
not to employ any particular methods of family planning. (42 CFR § 59.5(a)(2))

Review of Evidence Demonstrating Compliance (A):
   o TDH Family Planning Program Policy and Procedures (Revised May 2022), Voluntary
      Participation Policy effective April 1, 2022 revision date March 4, 2022
   o General Consent for Health Services
   o Chattanooga-Hamilton County Health Department Permission for Services
   o Grant Contract Between the State of Tennessee and Hamilton County Health Department
      (7/1/22-6/30-27)
   o Client Bill of Rights

This expectation was MET.

Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: Policies address this expectation. Training
documentation shows staff complete annual training on this and other Title X expectations. The
Manual addresses this expectation. FP staff are required to complete initial and annual training
that includes this expectation. Subrecipient contracts require compliance with the Recipient's
Administrative Manual. Recipient site visit reports show subrecipient and service sites are in
compliance with this expectation. The forms used by TN FPP and subrecipient service sites include
statements. The Client Bill of Rights Voluntary Participation section states clients may refuse any
and all services without penalty. These Bill of Rights are posted near the intake desk at service
sites.

The consent for services form states "I freely give consent for the receipt of health services provided
by the staff of the Tennessee Department of Health." The form does not specifically state services
are provided on a voluntary basis.

TDH Family Planning Program Policy and Procedures: References throughout the policies include
a reference to the Program Requirements for Title X Funded Family Planning Projects. This
document has been replaced by the Title X Program Handbook 2022.

Chattanooga-Hamilton County Health Department Permission for Services form does not state
services are provided on a voluntary basis. The Chattanooga-Hamilton County Health Department
subrecipient contract requires services to be provided without subjecting individuals to coercion to
accept services or to employ or not to employ any particular methods of family planning.

Best Practice Suggestion: Remove the reference to Program Requirements for Title X Funded
Family Planning Projects, Version 1.0 April 2014 included in the reference sections throughout the
policies, and replace it will the Titles X Program Handbook 2022.

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Expectation 2:

Ensure that acceptance of services is solely on a voluntary basis and may not be made a prerequisite
to eligibility for, or receipt of, any other services, assistance from or participation in any other
program of the recipient. (Sections 1001 and 1007, PHS Act; 42 CFR § 59.5(a)(2))

Review of Evidence Demonstrating Compliance (A):
   o TDH Family Planning Program Policy and Procedures (Revised May 2022), Voluntary
      Participation Policy effective April 1, 2022 revision date March 4, 2022
   o General Consent for Health Services
   o Chattanooga-Hamilton County Health Department Permission for Services
   o Client Bill of Rights
   o Voluntary participation/non-coercion notice

This expectation was MET.

Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: The recipient has established written policies
and procedures for compliance with this expectation. Documentation of training shows staff
complete annual training on this expectation. The General Consent for Health Services form states
"I do not have to use any other health department services in order to receive Family Planning
services." The statement on the consent form used by the subrecipient reviewed directly addresses
this expectation. Voluntary participation/non-coercion notices are posted near intake desks at clinic
sites reviewed. A Title X Requirements Acknowledgement form is sent to staff via email annually.
Staff are asked to read Title X requirements attached regarding non-discrimination, non-coercion,
abortion prohibition, and confidentiality and sign the form for each expectation. The signed form
should be returned to sender.

The state will resize and make more colorful the voluntary participation/non-coercion notice posted
near the intake desk.

Best Practice Suggestion: Remove the following statement from the General Consent for Health
Services form: "I do not have to use any other health department services in order to receive
Family Planning services." Replace with "I understand that I have the right to refuse any and all
treatment and medication."

Review of Evidence Demonstrating Compliance (C):
   o Medical Records
   o General consent forms

This expectation was MET.

Areas of Improvement and Required Action (C): N/A

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Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: Medical Records in each subrecipient site
consistently included signed general consents for family planning services.


Expectation 3:

Ensure that staff are informed that any officer or employee of the United States, officer or employee
of any State, political subdivision of a State, or any other entity, which administers or supervises the
administration of any program receiving Federal financial assistance, or person who receives, under
any program receiving Federal assistance, compensation for services, who coerces or endeavors to
coerce any person to undergo an abortion or sterilization procedure by threatening such person with
the loss of, or disqualification for the receipt of, any benefit or service under a program receiving
Federal financial assistance shall be fined not more than $1,000 or imprisoned for not more than
one year, or both. (42 U.S.C. § 300a-8, as set out in 42 CFR § 59.5(a)(2) footnote 1)

Review of Evidence Demonstrating Compliance (A):
   o TDH Family Planning Program Policy and Procedures (Revised May 2022), Voluntary
      Participation Policy effective April 1, 2022 revision date March 4, 2022
   o Documentation of Annual training regarding Title X expectations

This expectation was MET.

Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: TDH policy prohibits coercion to use any
particular method or service. Training documentation shows staff completed annual training on
this expectation. Site visit reports showed TN FPP monitors subrecipient and service sites for
compliance with this expectation. Staff are asked to read Title X expectations regarding non-
discrimination, non-coercion, abortion prohibition, and confidentiality and sign the form for each
expectation. The signed form should be returned to sender via email.


Expectation 4:

Provide services in a manner that does not discriminate against any client based on religion, race,
color, national origin, disability, age, sex, sexual orientation, gender identity, sex characteristics,
number of pregnancies, or marital status. (42 CFR § 59.5(a)(4))

Review of Evidence Demonstrating Compliance (A):
   o TN Family Planning Program Policy and Procedures, Cultural Competency
   o TN Family Planning Program Policy and Procedures, Non-Discriminatory Services (eff
      4/1/22; rev 3/22/22)
   o TN Department of Health Non-Discrimination
   o Chattanooga-Hamilton CHD Administrative Manual, Title VI Statement


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   o   TDH General Administration 2.0, Title VI Limited English Proficiency (LEP) Patient
       Services -- 2.16
   o   Client Bill of Rights
   o   Virtual service site tours

This expectation was MET.

Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: The recipient has established policy and
procedures regarding this expectation. Training documentation showed staff have completed
annual Title VI Training. The Client Bill of Rights includes this non-discrimination statement. Title
VI posters are on the walls throughout the service sites reviewed. A Title X Requirements
Acknowledgement form is sent to staff via email annually. Staff are asked to read Title X
expectations attached regarding non-discrimination, non-coercion, abortion prohibition, and
confidentiality and sign the form for each expectation. The signed form should be returned to the
sender.

Non-discrimination is addressed in the Hamilton County Government Employee Handbook. TDH
General Administration establishes non-discrimination policies for all TDH programs that are
receiving financial assistance. This policy is based on Title VI regs that do not include the
categories in FP expectations. This policy addresses compliance regarding interpreter and
translation services. It requires each region and metro CHD to develop a written LEP plan based
on a needs assessment. Title VI posters are posted throughout the clinic.

Best Practices Suggestion: Revise the non-discriminatory services policy to include sexual
orientation, gender identity, and sex characteristics.


NOTE: Expectation 5 was reviewed under Financial Accountability.


Expectation 6:

Provide services without the imposition of any durational residence expectation or an expectation
that the client be referred by a physician. (42 CFR § 59.5(b)(5))

Review of Evidence Demonstrating Compliance (A):
   o TN Family Planning Program Policy and Procedures, Durational Residency (eff 05/2022,
      rev 5/15/22)
   o Chattanooga-Hamilton CHD Administrative Manual
   o Staff Observations through role play (three sites reviewed)

This expectation was MET.

Areas of Improvement and Required Action (A): N/A

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Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: The policy prohibits the use of any residency
expectation to access Title X services at any service site. Staff are trained on this expectation and
TFPP staff monitor the services site for compliance. A review of site visit reports showed no
findings related to this expectation.

Interviews with staff and observations of role play at the three sites reviewed revealed staff are
aware of this expectation.


NOTE: Expectation 7 was reviewed under Provisions of High-Quality Family Planning
Services.


NOTE: Expectation 8 was reviewed under Community, Education, Participation, and
Engagement.


Expectation 9:

Ensure that all information as to personal facts and circumstances obtained by the project staff
about individuals receiving services must be held confidential and must not be disclosed without the
individual’s documented consent, except as may be necessary to provide services to the patient or
as required by law, with appropriate safeguards for confidentiality. Information may otherwise be
disclosed only in summary, statistical, or other form that does not identify the individual.
Reasonable efforts to collect charges without jeopardizing client confidentiality must be made.
Recipients must inform the client of any potential for disclosure of their confidential health
information to policyholders where the policyholder is someone other than the client. (42 CFR §
59.10(a))

Review of Evidence Demonstrating Compliance (A):
   o TN Family Planning Program Policy and Procedures, Confidentiality (eff 4/1/22; rev 3/4/22)
   o TDH Notice of Privacy Practices (rev 06/13)
   o TDH website, Family Planning section
   o General Consent for Health Services form
   o Chattanooga-Hamilton County Health Department Individual Agreement to Preserve
      Confidentiality of Patient or Client Information and Records
   o Chattanooga-Hamilton County Health Department Permission for Services
   o Chattanooga-Hamilton County Health Department Administration Manual 2019
   o TN Client Bill of Rights
   o Observations of role play

This expectation was MET.

Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

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Best Practices Suggestions & Additional Comments: Staff complete initial and annual training on
this policy. TDH Notice of Privacy Practices is offered to clients at their initial visit. TDH has
implemented medical records system safeguards to ensure adequate privacy, security, and
appropriate access to PII. The TDH FPP website informs viewers that clinical services are
confidential. The training plan and training documentation were provided for review.

Role plays at the three sites reviewed showed intake staff emphasis that services are confidential.

A Title X Requirements Acknowledgement form is sent to staff via email annually. Staff are asked to
read Title X requirements attached regarding non-discrimination, non-coercion, abortion
prohibition, and confidentiality and sign the form for each expectation. The signed form should be
returned to sender.

The TDH website, Family Planning section, states Confidential clinical services are offered in all
95 counties across the state at each of the local health departments. General Consent for Health
Services does not specifically state services are confidential. Clients receive a copy of the HIPAA
Notice of Privacy Practices. The Chattanooga-Hamilton County Health Department workforce are
required to sign this confidentiality agreement. The form documents the individual has reviewed the
policy. It further designates routine access for the individual. There are four access levels ranging
from no access to full access based on the individuals' work positions. Chattanooga-Hamilton
Permission for Services includes an acknowledgment of receipt of notice of privacy practices. Role
play of staff at three sites reviewed showed staff have received training on confidentiality
expectations and are in compliance with state and federal HIPAA and other confidentiality
expectations.

Review of Evidence Demonstrating Compliance (F):
   o Contracts with metropolitan health departments
   o Administrative manual

This expectation was MET.

Areas of Improvement and Required Action (F): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: N/A


Expectation 10:

Develop plans and strategies for implementing family planning services in ways that make services
as accessible as possible for clients. (OPA Program Priority, as set out in PA-FPH-22-001 NOFO
and the FY 2022 NOA Special Terms and Expectations)

Review of Evidence Demonstrating Compliance (A):
   o TN Family Planning Program Policy and Procedures, Telehealth (eff 6/1/22, rev 5/10/22)

This expectation was MET.

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Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: TDH wants to meet the people "where they
are." TDH initiated telehealth services with Title X funding just prior to the beginning of the
pandemic. A client calling for an appointment is offered a telehealth or in-person appointment.
Telehealth appointments can originate from client's home, health service site, or other site with
internet service. If internet service is not available, the appointment can be conducted using
Facetime or an audio phone call. Telehealth staff emphasize the importance of confidentiality.
Ninety-five percent of telehealth clients surveyed were very satisfied with their visit and would
recommend telehealth to their friends and family. TDH hopes to expand these services when
funding and staffing permits. Hamilton County Health Department began offering telehealth
services during COVID. Pre-pandemic, some clinics offered extended hours. Hamilton County
plans to resume services during extended hours post-pandemic. Pre-pandemic, TDH began a
process to assess service sites to determine their accessibility to vulnerable population. TDH
surveyed 124 sites for their accessibility to teen, male, and LGBTQ+ persons. Plans were paused
due to the pandemic. Based on survey results, TDH plans to increase the accessibility of services
for a more diverse population. The percent of family planning users who are male is low (3%).
TFPP staff along with Family Planning Administrators in the regions and metro are working to
develop strategies to serve more males.

Pre-pandemic, the TDH began a process to assess service sites to determine their accessibility to
vulnerable populations. The first year TDH surveyed 124 sites for their accessibility to teen, male,
and LGBTQ+ persons. Plans were paused due to the pandemic. Survey results were provided for
review. Based on survey results, TDH will increase the accessibility of services for a more diverse
population.

Chattanooga-Hamilton CHD: Extended clinic hours, telehealth, med refill pickup dates without
receiving services (pharmacy-like), FP ANPs are on a rotating schedule working in STD clinics to
interact with male clinics and offer to fast track family planning services. The arrangement keeps
the lines of communication open between STD clinic staff and FP staff. The site is trying to get
word out that the HD provides family planning services for males. Pre-pandemic Chattanooga-
Hamilton CHD offered services during extended hours. Plan to resume this schedule when feasible.

Recipient understands the need to increase the number of males receiving FP services. Are
exploring a variety of options, particularly warm handoff from STD.


Expectation 11:

Identify and execute strategies for delivering services that are responsive to the diverse needs of the
clients and communities served. (OPA Program Priority, as set out in PA-FPH-22-001 NOFO and
the FY 2022 NOA Special Terms and Expectations)

Review of Evidence Demonstrating Compliance (A):
   o TN Family Planning Program Policy and Procedures, Telehealth (eff 6/1/22, rev 5/10/22
   o TN Family Planning Program Policy and Procedures, Facilities and Accessibility of
      Services (eff 11/6/2002; rev 12/6/2019)
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   o   FY 22 Competitive Application
   o   General Administration 2.0, Title VI Limited English Proficiency (LEP) Patient
       Services2.16
   o   Chattanooga-Hamilton County Health Department Administrative Manual

This expectation was MET.

Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: The TN Department of Health and
Chattanooga-Hamilton County Health Department provide telehealth services as an option for FP
service delivery. Clients calling for an appointment are offered an in-person or telehealth
appointment. Clients needing language assistance have presented a problem with telehealth
appointments. The ANP uses Doxy.me or facetime to conduct these appointments. She has not been
able to link in an interpreter. She has tried using the language line to complete the appointment but
has not been satisfied with that option since she cannot see the patient and gauge her reactions.
TDH should identify a communication method that will allow interpreters to participate in face-to-
face meetings to provide interpreter services. TDH contracts for interpreter services at all clinic
sites. Some sites have an interpreter on site (Spanish/English). Each region/metro is required to
develop a written LEP plan to provide interpreter services. Translation services are provided
through the Tennessee Foreign Language Institute. Virtual tours showed notices of availability of
interpreter services in a variety of languages posted near the intake desk at service sites reviewed.
Other notices and posters are posted in English and Spanish. Hamilton County has a Kurdish
population and their brochures have been translated into Arabic.

TDH implemented the outreach initiative, Neonatal Abstinence Syndrome (NAS) Reduction Effort
Through Expanded Access to Family Planning Services, in 2015. Family Planning staff provide
education about NAS prevention and available Family Planning services. The opioid epidemic and
COVID-19 pandemic resulted in an uptick in the number of opioid overdoses. All Family Planning
clients are screened for substance abuse. TFPP works collaboratively with the Tennessee
Department of Mental Health and Substance Abuse to provide seamless continuity of care.

The TN Accessible Transportation and Mobility Act of 2020 created a new office within the
Tennessee Department of Transportation. The purpose is to provide resources and expertise for
expanding and improving accessible transportation and mobility across the state. Efforts to address
transportation barriers for clients include: outside of health department service locations, free bus
passes, partnering with A Step Ahead program to provide transportation to women through Uber
and Lyft services.

TDH partners with The Rape Prevention and Education program that focuses on preventing sexual
violence perpetration and victimization.

Best Practice Suggestion: TDH FPP staff should explore options for telehealth service delivery for
LEP clients needing interpreter services.


Expectation 12:
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Provide notice to OPA in the Title X Clinic Locator Database (https://opa-fpclinicdb.hhs.gov/) of
any deletions, additions, or changes to the name, location, street address and email, services
provided on-site, and contact information for Title X recipients and service sites. Changes must be
entered into the database within 30 days from the official OPA/GAM prior approval expectation for
changes in project scope, including clinic closures. (PA-FPH-22-001 NOFO and the FY 2022
Notice of Award Special Terms and Expectations)

Review of Evidence Demonstrating Compliance (A):
   o Interview with grant recipient staff

This expectation was MET.

Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: The TFPP Project Director has assigned the
responsibility for maintaining the clinic locator database to a staff member. This staff member
monitors local service sites and subrecipient agencies and updates the database as needed.


Expectation 13:

If enrolled in the 340B Program, comply with all 340B Program expectations. 340B Program
expectations are available at https://www.hrsa.gov/opa/program-expectations/index.html. (FY 2022
Notice of Award Special Terms and expectations)

Review of Evidence Demonstrating Compliance (F):
   o Inventory check
   o Staff interviews

This expectation was MET.

Areas of Improvement and Required Action (F): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: N/A


Expectation 14:

May copyright any work that is subject to copyright and was developed, or for which ownership
was acquired, under a federal award. The federal government reserves a royalty-free, nonexclusive
and irrevocable right to reproduce, publish, or otherwise use the work for Federal purposes, and to
authorize others to do so. The awardee is subject to applicable regulations governing patents and
inventions, including government- wide regulations issued by the Department of Commerce at 37
CFR part 401. The federal government has the right to: obtain, reproduce, publish, or otherwise use
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the data produced under this award; and authorize others to receive, reproduce, publish, or
otherwise use such data for federal purposes.

Review of Evidence Demonstrating Compliance (A):
   o Interview with Project Director

This expectation was MET.

Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: N/A


Expectation 15:

Acknowledge Federal funding when issuing statements, press releases, publications, requests for
proposal, bid solicitations and other documents --such as tool-kits, resource guides, websites, and
presentations (hereafter “statements”)-- describing the projects or programs funded in whole or in
part with HHS federal funds, the recipient must clearly state the percentage and dollar amount of
the total costs of the program or project funded with federal money and the percentage and dollar
amount of the total costs of the project or program funded by non-governmental sources.

Review of Evidence Demonstrating Compliance (A):
   o No written policies and procedures
   o Outreach and educational materials

This expectation was MET.

Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: The Recipient does not have any written
policies and procedures for compliance with this federal expectation. Federal funding was
acknowledged on the Title X Family Planning brochure developed and printed by the Tennessee
Family Planning Program, but the acknowledgement does not match either of the
acknowledgements included in this expectation. The acknowledgement on the brochure is as
follows: "This publication was made possible by grant #FPHPA040651 from the US Department of
Health and Human Services. Its contents are solely the responsibility of the authors and do not
necessarily represent the official views of the US Department of Health and Human Services."

Interview with the Project Director revealed this is the only brochure developed by the project. The
acknowledgement does include some of the wording included in one of the acknowledgements.
Reviewer recommended the Project Director submit the acknowledgement currently on the Family
Planning Brochure to their federal project officer for approval.


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The Family Planning brochure has a statement acknowledging federal funding, but the statement is
not required in this expectation. None of the other outreach material or brochures were developed
and printed using Title X funding.

The Family Planning brochure acknowledges grant support but does not use the language required.
Subrecipient contracts do not include this expectation.

Best Practice Suggestion: Develop written policies and procedures acknowledging federal funding
when issuing statements, press releases, publications, requests for proposals, bid solicitations, and
other documents, and include this expectation in subrecipient contracts. Submit acknowledgment
currently used on the Family Planning brochure to the OASH federal project officer and the OASH
grants management specialist for approval.




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                  Provision of High-Quality Family Planning Services

Expectation 1:

Provide a broad range of acceptable and effective medically approved family planning methods
(including natural family planning methods) and services (including pregnancy testing and
counseling, assistance to achieve pregnancy, basic infertility services, sexually transmitted infection
(STI) services, preconception health services, and adolescent-friendly health services). If an
organization offers only a single method of family planning, it may participate as part of a project
as long as the entire project offers a broad range of acceptable and effective medically approved
family planning methods and services. (Section 1001, PHS Act; 42 CFR § 59.5(a)(1))

Title X service sites are expected to provide most, if not all, of acceptable and effective medically
approved family planning methods and services on site and must detail the referral process for
family planning methods and services that are unavailable on-site.

Review of Evidence Demonstrating Compliance (C):
   o Family Planning Clinical Guidelines
   o Client education/counseling protocol
   o Family Planning Public Health Nursing Protocols
   o Medical records review
   o Documentation of staff training
   o Interview with Training Manager

This expectation was MET.

Areas of Improvement and Required Action (C): N/A

Technical Assistance: The reviewer recommended that basic infertility services, a core, and
required Title X family planning service for men and women, alike, are offered on-site to clients
instead of through the current referral process. These services, recommended by QFP, ACOG, and
the American Urological Society are defined in QFP, page 14. RHNTC has several succinct
resources for the offering of these services which are within APN’s scope of training and practice.
The reviewer also recommended that the Family Planning Clinical Guidelines, last updated in 2021,
be reviewed annually.

Best Practices Suggestions & Additional Comments: Direct observation of client care
substantiated that client were made aware of all FDA-approved contraceptives and their
availability within the program. The Family Planning Program has a high usage of LARCs, and
educational materials regarding NFP and liberally dispenses latex and non-latex condoms. Both
clinics consistently offer same day starts for contraceptives. The Polk-Benton APN does not insert
LARCs (a referral process is in place for these methods) and is willing to have updated training for
these methods. The Clinical Manager could consider offering this APN supervised insertion
opportunities at another clinic in order to enable her independent practice. Expedited partner
treatment for STIs is readily available as are referrals for PrEP, after counseling regarding this
medication. Reproductive life planning discussions and medical histories were consistently
documented in all pregnancy testing records. Only one of the records included documentation that
clients with positive tests were assessed for social support. Otherwise, all documentation was in

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accordance with QFP principles. All staff had evidence of QFP training as it relates to pregnancy
counseling.


Expectation 2:

Ensure that Title X service sites that are unable to provide clients with access to a broad range of
acceptable and effective medically approved family planning methods and services, must be able to
provide a prescription to the client for their method of choice or referrals to another provider, as
requested. (42 CFR § 59.5(a)(1))

Review of Evidence Demonstrating Compliance (C):
   o Clinic Protocol
   o Referral list
   o Medical records review

This expectation was MET.

Areas of Improvement and Required Action (C): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: Clinics provide all family planning methods
and services, including referrals for sterilization and LARCs (provided on a sliding fee scale) if
they are not available on-site. TFPP has an agreement with the University of Nevada, Reno, to
perform vasectomies on clients that they have counseled regarding this contraceptive option, and
those clients are charged on a sliding fee scale. The Recipient offers a broad range of
contraceptives including several types of oral contraceptives, two types of IUDs and emergency
contraception, and Depo Provera( IM and SQ). They offer a full year's supply of oral
contraceptives if clinically not contraindicated, at the time of method initiation.


Expectation 3:

Provide services in a manner that is client-centered, culturally and linguistically appropriate,
inclusive, and trauma-informed. (42 CFR § 59.5(a)(3))

Review of Evidence Demonstrating Compliance (A):
   o TN Family Planning Program Policy and Procedures, Cultural Competency (rev 3/10/22;
      Eff date 4/1/22
   o Client Dignity Protocol
   o Chattanooga-Hamilton CHD Administrative Manual, Interpretation Services
   o Chattanooga-Hamilton CHD Administrative Manual, Interpreters Provided by Clients
   o Virtual clinic tour
   o Training documentation

This expectation was MET.

Areas of Improvement and Required Action (A): N/A
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Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: TN has a policy of non-discrimination in
employment. The virtual tour showed non-discrimination in employment posters and vacancy
announcements (at one site) on the walls in the two sites reviewed. TDH staff complete cultural
diversity training annually. Client satisfaction surveys assess the degree to which they feel the staff
are sensitive to and able to deal effectively with the client population. Service sites conduct patient
satisfaction surveys for a period of at least five working days during the calendar year. TDH staff
collaborates with Health Councils composed of diverse stakeholders who look at data, identify
disparities, and select priority areas to work on. I&E and outreach Family Planning materials are
in English and Spanish. Limited material has been translated into Arabic. Interpreter services are
available statewide through a language line. Hamilton County has Spanish-speaking interpreters
available onsite.

The Chattanooga-Hamilton CHD Administrative Manual states that clients choosing to use their
own interpreter must sign a waiver stating they were informed of an interpreter free of charge and
of the risk of using their own interpreter but choose to use their interpreter. Signage in the building
is in Spanish and English. FP brochures are in Spanish, English, and Arabic. Notice of availability
of interpreter service is posted on the wall near the intake desk.

Review of Evidence Demonstrating Compliance (C):
   o Recipient and subrecipient agencies have written policies and procedures addressing this
      expectation
   o Copies of Materials translated into other languages that are available to patients
   o LGBTQ Assessments
   o Translation services policy
   o Client education/counseling materials, etc.
   o Medical record review
   o Staff trainings
   o Policies, procedures, and Protocols

This expectation was MET.

Areas of Improvement and Required Action (C): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: Direct client/provider observations reflected
client-centered care that was also trauma-informed. The Recipient has conducted LGBTQ+
assessments with an inclusive tool to evaluate quality services to these clients. Trauma-informed
education was consistently documented in the medical records reviewed. The Hamilton clinic has
Spanish interpreters (22% of the clients are Hispanic) on-site and both clinics utilize language
lines. The Hamilton clinic has a gender-neutral bathroom identified during the tour of the facility.


Expectation 4:

Provide services in a manner that protects the dignity of the individual. (42 CFR § 59.5(a)(3))
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Review of Evidence Demonstrating Compliance (C):
   o TNDOH Administrative Manual
   o Client Dignity protocol
   o Observation of client education

This expectation was MET.

Areas of Improvement and Required Action (C): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: TFPP has a policy dated March 2022
describing the program's process for ensuring that services are provided in a manner that protects
clients' dignity. Direct observation of client care role plays in each subrecipient site exemplified
this standard of care.


Expectation 5:

Provide services in a manner that ensures equitable and quality service delivery consistent with
nationally recognized standards of care. (42 CFR § 59.5(a)(3))

Review of Evidence Demonstrating Compliance (C):
   o Documentation of staff training
   o Clinic Protocol
   o Family Planning Clinical Guidelines, 2021
   o Observation of client education; medical record/chart review

This expectation was MET.

Areas of Improvement and Required Action (C): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: TFPP participates in the TDH Division of
Family Health and Wellness health equity planning and implementation task force. This
collaboration ensures that family planning policies reflect and value the potential of every client.


Expectation 6:

Provide quality family planning services that are consistent with the Providing Quality Family
Planning Services: Recommendations from Centers for Disease Control and Prevention and the
U.S. Office of Population Affairs (QFP) and other relevant nationally recognized standards of care.
(OPA Program Priority, PA-FPH-22-001 NOFO, and the FY 2022 NOA Special Terms and
Expectations)

Review of Evidence Demonstrating Compliance (C):
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   o   Documentation of staff training
   o   Clinic Protocol
   o   Client education
   o   Counseling Protocol
   o   FPAR data
   o   Observation of Client interactions

This expectation was NOT MET.

Areas of Improvement and Required Action (C): The number of male clients seen in the TFPP,
less than 3% of the client total in 2021, is far below the national average. The Hamilton program
had no male client medical records available for the review. The TFPP program needs to achieve
health equity for the male population, particularly those of low income, by increasing outreach to
males and recruiting males into the program. The TFPP must develop a protocol specific to males,
including the family planning and related preventative health services recommendations in QFP's
checklist for male services (page 23).

Technical Assistance: The reviewer discussed strategies with TFPP staff, including collaboration
with STD programs to partner in addressing those needs of male patients and promoting services
that will safeguard the reproductive health of both men and women. Marketing efforts could include
distributing male-friendly brochures in posters in establishments, such as bars and gyms, where
males congregate. Opportunities can be optimized to provide men with reproductive health care by
converting a standalone visit (e.g., an STD screening request) to a more comprehensive family
planning visit that also addresses issues related to unintended pregnancy prevention including
sexual risks, contraception, and reproductive life planning. This approach is especially important
for men who otherwise might not receive these services.

Best Practices Suggestions & Additional Comments: Midlevel nurse practitioners identified their
comfort in seeing male clients. The TFPP has well-designed visual materials (e.g., postures and
brochures) intended for a male audience. The Family Planning National Training Center has
developed a checklist for family planning and related health services for men based on CDC, QFP,
and OPA recommendations. Increasing services to the male population will facilitate preconception
health for both men and women. The FPP needs to maximize these resources, identify current
barriers to reaching males and create a plan to increase services to this population.


Expectation 7:

Advance health equity through the delivery of Title X services. Health equity is when all persons
have the opportunity to attain their full health potential and no one is disadvantaged from achieving
this potential because of social position or other socially determined circumstances. (OPA Program
Priority, PA-FPH-22-001 NOFO, the FY 2022 NOA Special Terms and Expectations, and 42 CFR
§ 59.2)

Review of Evidence Demonstrating Compliance (A):
   o TN Family Planning Program Policy and Procedures, non-discriminatory Services, Client
      Dignity
   o FP Training documentation
   o Observation during Role Play
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This expectation was MET.

Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: Non-discriminatory services, client dignity,
confidentiality, and other policies assure clients have access to reproductive health services.
Training documentation showed that staff have completed annual non-discrimination,
confidentiality, cultural diversity, and other required training. Staff have interpreter services
available statewide through a language line. During role play observation, intake staff showed they
are sensitive to the needs of clients and emphasize confidentiality. The clinic site reviewed is
handicap accessible. Both sites have a gender-neutral restrooms.

Documentation of training provided for staff in the metro and region were reviewed.

Review of Evidence Demonstrating Compliance (C):
   o Documentation of staff training
   o Client education/counseling protocol
   o Observations and interviews
   o Referrals policy or system/process

This expectation was MET.

Areas of Improvement and Required Action (C): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: The recipient's work plan identifies two
specific goals in advancing health equity. TFPP, together with TDH, are working with a Health
Equity consultant to prepare a health equity disparity impact statement.


Expectation 8:

Improve and expand accessibility of services for all clients, especially low-income clients by
providing client-centered services that are available when and where clients need them and can
most effectively access them. (OPA Program Priority, PA-FPH-22-001 NOFO, and the FY 2022
NOA Special Terms and Expectations).

Review of Evidence Demonstrating Compliance (A):
   o TN Family Planning Program Policy and Procedures, Telehealth (eff 6/1/22, rev 5/10/22
   o TN Family Planning Program Policy and Procedures, Facilities and Accessibility of
      Services (eff 11/6/2002; rev 12/6/2019)
   o Chattanooga-Hamilton County Health Department Administrative Policies
   o Virtual tour of clinic sites

This expectation was MET.
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Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: Surveys of TDH TFPP telehealth services
have shown that 95% of the clients are satisfied with their services and would recommend
telehealth to friends and family. TFPP plans to expand services as funding and staffing are
available. Hamilton County Health Department offered extended hours pre-pandemic and initiated
telehealth during the pandemic. The Health Department plans to resume extended hours schedule
and expand telehealth services and offer quick med pickup (similar to pharmacies). Hamilton
County plans outreach to a small Kurdish population in the county. TFPP staff have been working
with the Epidemiologist to establish outreach potential. For example, mapping the counties serving
less than 21% of Females aged 19-44 who are potentially eligible for Title X FP services.

Chattanooga-Hamilton County Health Department: Pre-pandemic offered extended hours so that
clients could access services after work. During the pandemic, offered telehealth service and drive-
through meds pickup. When fully staffed and open, plan to resume and expand telehealth services
and offer quick med pickup (similar to pharmacies). The main clinic reviewed has free parking in a
garage, automatic door opening, and elevators. Handicap-accessible, gender-neutral restrooms are
available. The building is large and well laid out to accommodate individuals with mobility issues.
Maps are posted on the walls to direct clients to available services, including family planning.
Spanish-speaking interpreters are onsite, and a language line is available for other languages. FP
APNs work in an STD clinic periodically to provide FP information and intake for FP services to
male clients. The clinic serves a racially diverse population. There has been an increase in
outreach to the Kurdish population in the county.

Polk County Health Department is attractive and well laid out. A gender-neutral restroom is
available. The entrance door is not automatic, but staff indicated there are plans to update it. Polk
County is a small, rural county. The Benton clinic served only 39 patients and no males.

Review of Evidence Demonstrating Compliance (C):
   o Client education/counseling materials
   o Telehealth protocol
   o Transportation access (Client mobility)
   o Clinic layout
   o Needs assessment
   o Patient observation
   o Interpretation services

This expectation was MET.

Areas of Improvement and Required Action (C): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: The Telehealth program greatly enhances
clients' access to services through the offering of flexible hours and obviating the need for
transportation.
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Expectation 9:

Offer pregnant clients the opportunity to be provided information and counseling regarding each of
the following options: prenatal care and delivery; infant care, foster care, or adoption; and
pregnancy termination. If requested to provide such information and counseling, projects must
provide neutral, factual information and nondirective counseling on each of the options, and referral
upon request, except with respect to any option(s) about which the pregnant client indicates they do
not wish to receive such information and counseling. (42 CFR § 59.5(a)(5), Title X appropriations)

Review of Evidence Demonstrating Compliance (C):
   o Documentation of staff training
   o Pregnancy Testing and Counseling Protocol
   o Referral list
   o Medical Records review
   o APN staff interviews
   o Pregnancy Testing and Counseling Protocol
   o Referral lists
   o Medical Records review
   o Observation of Pregnancy Counseling visit
   o Staff interview

This expectation was MET.

Areas of Improvement and Required Action (C): N/A

Technical Assistance: The reviewer strongly recommended the addition of pregnancy testing to the
family planning brochure's list of services.

Best Practices Suggestions & Additional Comments: Non-directive pregnancy counseling is
offered by nurse practitioners. No referrals for abortion are made. Prenatal precautions, according
to the protocol, are documented in the medical records reviewed. The protocol for pregnancy
counseling conforms with federal expectations for this service.


Expectation 10:

Provide that family planning medical services will be performed under the direction of a clinical
services provider (CSP), with services offered within their scope of practice and allowable under
state law, and with special training or experience in family planning. CSPs include physicians,
physician assistants, nurse practitioners, certified nurse midwives, and registered nurses with an
expanded scope of practice who are trained and permitted by state-specific regulations to perform
all aspects of the user (male and female) physical assessments recommended for contraceptive,
related preventive health, and basic infertility care. (42 CFR § 59.5(b)(6) and 42 CFR § 59.2)

Review of Evidence Demonstrating Compliance (C):
   o CVs (Grantee, Hamilton, and Polk-Benton) Medical Directors
   o Interviews with three Medical Directors and APNs
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   o   Description of Position

This expectation was MET.

Areas of Improvement and Required Action (C): N/A

Technical Assistance: The reviewer recommended that the recipient's medical director reach out to
the program's regional directors on a regular basis (e.g., quarterly newsletter) apprising them of any
news or update regarding the TFPP.

Best Practices Suggestions & Additional Comments: TFPP's Medical Director was engaged with
the review process during each day of this program review. She has reviewed and signed TFPP
protocols and policies. She has many years of experience in family planning and women's health
and has attended several annual FP updates, contraceptive technology update conferences, and the
past two virtual national reproductive health conferences hosted by the national clinical training
center. Hamilton's medical director job description stated that the physician serves as the clinical
supervisor/collaborator with the advanced practice nurses which includes monthly chart reviews,
reviewing and approving protocols, and clinical guidelines used in various clinics. This
subrecipient has an APN/MD Preceptor Agreement stipulating that family planning services are
under the supervision of the physician preceptor. The newly appointed Medical Director will be
attending an upcoming reproductive health care conference. An OB/GYN physician is available to
Hamilton APNs for consultation Pol-Benton's medical director is a board-certified family medicine
physician with recent continuing education in reproductive health. All medical directors confirmed
that they are familiar with QFP.


Expectation 11:

Ensure that non-clinical counseling services (such as contraceptive counseling, nondirective options
counseling, reproductive health goals, etc.) is provided by any adequately trained staff member who
is involved in providing family planning services to Title X clients, this may include CSPs and non-
CSPs (e.g., health educators). (2021 Final Rule FAQs)

An “adequately trained staff member” has attended and participated in required orientation, courses,
curriculums, and/or teaching/mentoring experiences, maintains appropriate competencies, and is
knowledgeable and proficient in providing non-clinical counseling services.

Review of Evidence Demonstrating Compliance (C):
   o Documentation of staff training/education
   o Observation of Client Education session and/or staff interview
   o Medical record review

This expectation was MET.

Areas of Improvement and Required Action (C): N/A

Technical Assistance: N/A


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Best Practices Suggestions & Additional Comments: Not all TFPP staff have completed training
in QFP. Completing this training will familiarize these members with the principles designed to
optimize care. Direct observation of non-clinical counseling reflected the staff member's ability to
appropriately follow up on non-verbal cues from the client. The RLP was consistently discussed in
all observed client/provider interactions, as well as documented in medical records reviewed.




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                                      Adolescent Services

Expectation 1:
Apply all expectations listed under “Provision of Quality Family Planning Services” when
providing services to adolescent clients.

Review of Evidence Demonstrating Compliance (C):
   o Observation and staff interview
   o Medical records review
   o Adolescent Clinical Protocol

This expectation was MET.

Areas of Improvement and Required Action (C): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: TFP's adolescent population, at 19% is
higher than the national average.


Expectation 2:
Provide adolescent-friendly health services, which are services that are accessible, acceptable,
equitable, appropriate and effective for adolescents. (42 CFR § 59.2)
Review of Evidence Demonstrating Compliance (C):
   o Medical records review
   o Client education/counseling materials
   o Observations and staff interviews
   o Inspection of Title X subrecipient sites
   o Schedule of site hours

This expectation was MET.

Areas of Improvement and Required Action (C): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: The TFP Adolescent Service policy identifies
QFP's five key principles to ensure quality counseling and education.


Expectation 3:
To the extent practical, Title X projects shall encourage family participation. However, Title X
projects may not require consent of parents or guardians for the provision of services to minors, nor
can any Title X project staff notify a parent or guardian before or after a minor has requested and/or
received Title X family planning services. (Section 1001, PHS Act; 42 CFR § 59.10(b))
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Review of Evidence Demonstrating Compliance (A):
   o FP PHN Protocols, Adolescent Services
   o TN Family Planning Program Policy and Procedures, Confidentiality
   o Training documentation
   o Client Bill of Rights
   o Training Plan
   o TN Family Planning Program Policy and Procedures, Compliance with Legislative
      Mandates (eff 4/1/22; rev 3/22)
   o Role plays

This expectation was MET.

Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: TFPP has written an Adolescent Services
policy requiring counseling regarding encouraging family participation in the decision of minors to
seek family planning services. Parental consent is not required for minors to receive services. Site
visit reports show subrecipients and services sites are assessed for compliance with this
expectation. The training plan includes annual training on this expectation and training
documentation shows staff completed this training. The Client Bill of Rights posted near intake
desks in clinics assures clients that their health records are private, and services will be provided in
ways that ensure privacy and safety. Intake staff during role play assured clients their insurance
would not be billed, and the health department would not mail anything to their homes if they were
seeking confidential services.

Review of Evidence Demonstrating Compliance (C):
   o Observation and staff interviews
   o Adolescent counseling and education protocol

This expectation was MET.

Areas of Improvement and Required Action (C): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: Role play scenarios in each Hamilton and
Polk-County clinic demonstrated that staff confirms with adolescent patients that project staff will
not notify a parent or guardian before or after a minor has requested and/or received Title X family
planning services.


Expectation 4:
Ensure that all applicants for Title X funds certify that they encourage family participation in the
decision of minors to seek family planning services and provide counseling to minors on how to

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resist attempts to coerce minors into engaging in sexual activities. (Legislative Mandate set out in
the Annual HHS Appropriations Act)

Review of Evidence Demonstrating Compliance (A):
   o FP PHN Protocols, Adolescent Services
   o Training Plan and documentation of training
   o 2022 Administrative Manual Tennessee Family Planning Program

This expectation was MET.

Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: TDH FPP policy requires providers to
counsel on ways to resist sexual coercion and on encouraging family involvement at the initial
reproductive health encounter and at least annually. Parental consent is NOT required in order to
receive services. Information will not be shared without the minor's consent. Minors presenting
with a parent or guardian must be offered the opportunity to receive counseling and/or examination
separately from the parent(s)/guardian(s). The Administrative Manual states adolescents may
consent to family planning services without the consent of a parent. The Adolescent Consents and
Counseling section of the manual further states that adolescents must be counseled on how to resist
being coerced into engaging in sexual activities and encourage the minor to involve their family in
their decision to seek family planning services. Site visit reports reviewed found service sites were
in compliance with these expectations.


Review of Evidence Demonstrating Compliance (C):
   o Adolescent Services Protocol
   o Observations and staff interviews

This expectation was MET.

Areas of Improvement and Required Action (C): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: The Adolescent Services protocol clearly
stipulates legislative expectation mandates and the review of medical records consistently
documented age-appropriate counseling in this regard. The protocol offers an example of a well-
written script encouraging minors' inclusion in family participation. All chart reviews, male and
female alike, had documented adolescent counseling. Medical records reviewed for both the
Hamilton and Polk-Benton sites had consistent and complete adolescent counseling documented.
Role plays with adolescent clients at each site, similarly included this counseling, including that
with a male client.


Expectation 5:

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No Title X services provider shall be exempt from any State law requiring notification or the
reporting of child abuse, child molestation, sexual abuse, rape, or incest. (Legislative Mandate set
out in the Annual HHS Appropriations Act)

Review of Evidence Demonstrating Compliance (A):
   o 2022 Administrative Manual Tennessee Family Planning Program, Mandatory Reporting
      Requirement
   o TN Family Planning Program Policy and Procedures, Confidentiality
   o TN Family Planning Program Policy and Procedures, Compliance with Legislative
      Mandates
   o FP PHN Protocols, Adolescent Services
   o Training Plan and documentation of training

This expectation was MET.

Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: TDH FPP policy requires staff to report
suspected abuse in compliance with state reporting laws. The training plan requires training on this
expectation to be completed annually. Documentation showed staff training is up to date. The
training is provided by the Tennessee Department of Children's Services (Mandated Child Abuse
Reporting Training). A Title X: Mandatory Reporting Acknowledgement form is sent via email to
staff annually. Staff may use the form to report training completed and upload certificates of
completion.


Review of Evidence Demonstrating Compliance (C):
   o Child Abuse Protocol
   o Adolescent Services Policy

This expectation was MET.

Areas of Improvement and Required Action (C): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: The Adolescent Services Policy for TFPP
stipulates that the TNDH policy "Reporting Child Abuse" must be followed to report suspected
abuse. This policy comprehensively addresses the legislative reporting mandate.




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                         Referral for Social and Medical Services

Expectation 1:
Provide referrals for medical services related to family planning and to other medical facilities
when medically indicated thereby provide for the effective usage of contraceptive devices and
practices. (42 CFR § 59.5(b)(1))

Review of Evidence Demonstrating Compliance (C):
   o Referral Protocol
   o Referral Lists
   o Medical records review

This expectation was MET.

Areas of Improvement and Required Action (C): N/A

Technical Assistance: The reviewer recommended that out-of-state abortion referral resources are
available at the Hamilton site to clients who request this information for an unintended pregnancy,
(insofar as this procedure will no longer be available in Tennessee).

Best Practices Suggestions & Additional Comments: Subrecipient sites have effective processes
for referrals to medical, mental health, and social service agencies. TDFP has established and
maintains collaborative relationships with Community Health Centers, and the Rural Health
Services Consortium, among others, and an agreement with A STEP AHEAD program allows Title
X clients free LARCs and insertions, and transportation or fuel vouchers to facilitate appointments.
Documentation was seen in the medical record when referrals were made based on a documented
specific condition/issue. The Hamilton subrecipient site has a current (May 2022) and
comprehensive list of abortion providers in nearby states who provide abortion to clients who
request this information for an unintended pregnancy, (insofar as this procedure will no longer
available in Tennessee, effective August 25, 2022 due to Tennessee's Human Life Protection Act
banning all abortions).


Expectation 2:
Provide referrals for social services related to family planning and to and from other social and
medical service agencies, and any ancillary services which may be necessary to facilitate clinic
attendance. (42 CFR § 59.5(b)(2))

Review of Evidence Demonstrating Compliance (C):
   o Recipient needs assessment
   o Clinical protocol

This expectation was MET.

Areas of Improvement and Required Action (C): N/A

Technical Assistance: N/A
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Best Practices Suggestions & Additional Comments: The recipient needs assessment has
documented the social service and medical needs of the community to be served and identified
relevant social and medical services available to help meet those needs. Eighteen Tennessee
counties have A Step Ahead Program which provides free transportation to facilitate clinic
attendance and referral visits.


Expectation 3:
Provide for coordination and use of referrals and linkages with primary healthcare providers, other
providers of healthcare services, local health and welfare departments, hospitals, voluntary
agencies, and health services projects supported by other federal programs, who are in close
physical proximity to the Title X site, when feasible, in order to promote access to services and
provide a seamless continuum of care. (42 CFR § 59.5(b)(8))

Review of Evidence Demonstrating Compliance (A):
   o TN Family Planning Program Policy and Procedures, Availability of Social Services (eff
      4/1/22; rev 3/21/22); Availability and Use of Referrals (eff 4/1/22; rev 3/22/22)
   o MOU TDH and Christ Community Health Center, Inc.
   o FY22 Competitive Application
   o MOU template

This expectation was MET.

Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: TFPP service sites are required to have a
process to refer clients for social and medical services. Polk County HD does not have formal
agreements for these services but does have a resource list. Resource lists were available in the
waiting rooms of both clinic sites reviewed. Regional/Metro Family Planning Administrators (FPA)
along with healthcare experts and clinic staff are responsible for vetting providers and referral
resources. Referral resources are required to be updated annually.

The MOU template addresses referrals between agencies and clarifies that it is not an exclusive
arrangement.

Chattanooga-Hamilton CHD refers clients to CEMPA: FOR PrEP. Chattanooga-Hamilton CHD
referral/resources list includes Erlanger FQHC and other CHCs, private physicians, etc.

Polk County Health Department refers to Centennial Medical Center in Nashville for patients
desiring tubal ligations and to private providers for patients desiring sterilizations. Both referral
resources charge Title X referred clients on a sliding fee scale.

Both sites visited have a resource list for providers in the area.



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Expectation 4:
Ensure service sites and subrecipients have strong links to other community providers to ensure that
clients have access to primary care. If a client does not have another source of primary care, priority
should be given to providing related reproductive health services or providing referrals, as needed.
Screening services such as, medical history; cervical cytology; clinical breast examination;
mammography; and pelvic and genital examination should be provided for clients without a
primary care provider, where applicable, and consistent with nationally recognized standards of
care. In addition, appropriate follow-up, if needed, should be provided while linking the client to a
primary care provider. (QFP, p.20, https://opa.hhs.gov/sites/default/files/2020-10/providing-quality-
family-planning-services-2014_1.pdf )

Review of Evidence Demonstrating Compliance (C):
   o Referral Protocol
   o Medical records review
   o Staff interviews

This expectation was MET.

Areas of Improvement and Required Action (C): N/A

Technical Assistance: Medical records had consistent documentation regarding clients' primary
care provider(s). In cases where there were none, referrals were documented.

Best Practices Suggestions & Additional Comments: If a client does not have another source of
primary care, screening services such as medical history, cervical cytology, clinical breast
examinations, and pelvic and genital examinations are provided for clients, where applicable,
consistent with nationally recognized standards of care. TFPP has an MOU with specialty service
providers to follow up on abnormal Pap smears and breast exams. TFPP maintains collaborative
agreements with various referral agencies, including emergency care, HIV/AIDS care, and
treatment providers, infertility specialists, primary care, and chronic care management providers.




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                                   Financial Accountability

Expectation 1:

Provide that no charge will be made for services provided to any clients from a low-income family
except to the extent that payment will be made by a third party (including a government agency)
which is authorized to or is under legal obligation to pay this charge. Low-income family means a
family whose total annual income does not exceed 100 percent of the most recent Poverty
Guidelines issued pursuant to 42 U.S.C. 9902 (2). “Low-income family” also includes members of
families whose annual family income exceeds this amount, but who, as determined by the project
director, are unable, for good reasons, to pay for family planning services. (Section 1006(c)(1), PHS
Act; 42 CFR § 59.5(a)(7) and 42 CFR § 59.2)

Review of Evidence Demonstrating Compliance (F):
   o Patient chart reviews
   o Schedule of discounts
   o Fee schedule
   o Review capture of patient income declaration in the EHR
   o Financial policies review
   o Administrative manuals

This expectation was MET.

Areas of Improvement and Required Action (F): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: N/A


Expectation 2:

Unemancipated minors who wish to receive services on a confidential basis must be considered on
the basis of their own resources. (Section 1006(c)(1), PHS Act; 42 CFR § 59.5(a)(7) and 42 CFR §
59.2)

Review of Evidence Demonstrating Compliance (F):
   o 5 charts were reviewed for each site (minors seeking confidential services included in the
      samples)
   o Role play
   o Administrative manual

This expectation was MET.

Areas of Improvement and Required Action (F): N/A

Technical Assistance: N/A


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Best Practices Suggestions & Additional Comments: N/A


Expectation 3:

Provide that charges will be made for services to clients other than those from low-income families
in accordance with a schedule of discounts based on ability to pay, except that charges to persons
from families whose annual income exceeds 250 percent of the levels set forth in the most recent
Poverty Guidelines issued pursuant to 42 U.S.C. 9902(2) will be made in accordance with a
schedule of fees designed to recover the reasonable cost of providing services. (42 CFR §
59.5(a)(8))

The schedule of discounts should be updated annually in accordance with the FPL.

Review of Evidence Demonstrating Compliance (F):
   o Chart Reviews
   o Schedule of discounts
   o Fee schedule
   o Interview on the setting of charges
   o Review patient income declaration forms
   o Role play, policy review
   o Determination of fees framework

This expectation was MET.

Areas of Improvement and Required Action (F): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: N/A


Expectation 4:

Ensure that family income is assessed before determining whether copayments or additional fees
are charged. (42 CFR § 59.5(a)(8))

Review of Evidence Demonstrating Compliance (F):
   o Patient chart review
   o Policy review
   o Role play
   o Patient income declarations
   o Administrative manual
   o Financial policies
   o Interviews

This expectation was MET.

Areas of Improvement and Required Action (F): N/A
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Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: N/A


Expectation 5:

Ensure that, with regard to insured clients, clients whose family income is at or below 250 percent
of the FPL should not pay more (in copayments or additional fees) than what they would otherwise
pay when the schedule of discounts is applied. (42 CFR § 59.5(a)(8))

Review of Evidence Demonstrating Compliance (F):
   o Patient chart review
   o Financial policy review
   o Role play
   o Staff interviews
   o Administrative manual

This expectation was MET.

Areas of Improvement and Required Action (F): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: N/A


Expectation 6:

Take reasonable measures to verify client income, without burdening clients from low-income
families. Recipients that have lawful access to other valid means of income verification because of
the client’s participation in another program may use those data rather than re-verify income or rely
solely on clients’ self-report. If a client’s income cannot be verified after reasonable attempts to do
so, charges are to be based on the client’s self-reported income. (42 CFR § 59.5(a)(9))

Review of Evidence Demonstrating Compliance (F):
   o Patient chart reviews
   o Financial policies review
   o Patient intake and disclosure forms
   o Role play
   o Administrative manual
   o Patient income declaration forms
   o Patient billing records

This expectation was MET.

Areas of Improvement and Required Action (F): N/A

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Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: N/A


Expectation 7:

Take all reasonable efforts to obtain the third-party payment without application of any discounts, if
a third party (including a Government agency) is authorized or legally obligated to pay for services.
Where the cost of services is to be reimbursed under title XIX, XX, or XXI of the Social Security
Act, a written agreement with the title XIX, XX, or XXI agency is required. (42 CFR § 59.5(a)(10))

Review of Evidence Demonstrating Compliance (F):
   o Patient chart review
   o Role play
   o Financial policies review
   o Administrative manuals
   o Staff interviews
   o Patient billing records

This expectation was MET.

Areas of Improvement and Required Action (F): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: N/A


Expectation 8:

Provide that all services purchased for project participants will be authorized by the project director
or their designee on the project staff. (42 CFR § 59.5(b)(7))

Review of Evidence Demonstrating Compliance (F):
   o Fiscal policies review
   o Staff interviews
   o Administrative manual
   o Purchasing policies

This expectation was MET.

Areas of Improvement and Required Action (F): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: N/A


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Expectation 9:

Provide that if family planning services are provided by contract or other similar arrangements with
actual providers of services, services will be provided in accordance with a plan which establishes
rates and method of payment for medical care. These payments must be made under agreements
with a schedule of rates and payment procedures maintained by the recipient. The recipient must be
prepared to substantiate that these rates are reasonable and necessary. (42 CFR § 59.5(b)(9))

Review of Evidence Demonstrating Compliance (F):
   o Financial policies review
   o Staff interviews
   o Contract review with the metropolitan health departments
   o Internal site visit audits

This expectation was MET.

Areas of Improvement and Required Action (F): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: N/A


Expectation 10:

Maintain financial policies and procedures that are in compliance with 45 CFR Part 75, Uniform
Administrative expectations, Cost Principles, and Audit expectations for HHS Awards. (PA-FPH-
22-001 NOFO and Notice of Award Terms and Expectations)

Review of Evidence Demonstrating Compliance (F):
   o Financial policies review
   o Staff interviews
   o Administrative manual

This expectation was MET.

Areas of Improvement and Required Action (F): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: N/A


Expectation 11:

Ensure that no mobile health unit(s) or other vehicle(s), even if proposed in the application for the
Title X award, is purchased with award funds without prior written approval from the grants
management officer. Requests for approval of such purchases must include a justification with a
cost-benefit analysis comparing both purchase and lease options. Such requests must be submitted
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as a Budget Revision Amendment in Grant Solutions. (Notice of Award Special Terms and
Expectations)

Review of Evidence Demonstrating Compliance (F):
   o NOA Review
   o Staff interviews
   o Fiscal policies
   o Administrative manual

This expectation was MET.

Areas of Improvement and Required Action (F): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: N/A


Expectation 12:

Include financial support from sources other than Title X as no grant may be made for an amount
equal to 100 percent of the project's estimated costs. Although projects are expected to identify
additional sources of funding and not solely rely on Title X funds, there is no specific amount of
level of financial match expectation for this program. (42 CFR § 59.7(c), PA-FPH-22-001 NOFO,
Notice of Award Special Terms and Expectations)

*Exception for territories and freely associated states as noted in the NOFO

Review of Evidence Demonstrating Compliance (F):
   o NOA Review
   o Budget review
   o FFR reports
   o Financial statements

This expectation was MET.

Areas of Improvement and Required Action (F): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: N/A


Expectation 13:

Ensure that program income (fees, premiums, third-party reimbursements which the project may
reasonably expect to receive), as well as State, local and other operational funding, will be used to
finance the non-federal share of the scope of project as defined in the approved grant application
and reflected in the approved budget. Program income and the level projected in the approved
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budget will be used to further program objectives. Program Income may be used to meet the cost
sharing or matching expectation of the Federal award. The amount of the Federal award stays the
same. Program Income in excess of any amounts specified must be added to the Federal funds
awarded. They must be used for the purposes and conditions of this award for the duration of the
Project period. 45 C.F.R. § 75.307 (e), Notice of Award Special Terms and Expectations)

Review of Evidence Demonstrating Compliance (F):
   o Policy & procedure review FFR
   o Budgets
   o Cost allocation methodology
   o NOA review
   o Administrative manual
   o Staff interviews
   o Financial policies

This expectation was MET.

Areas of Improvement and Required Action (F): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: N/A


Expectation 14:

Ensure that Title X funds shall not be expended for any activity (including the publication or
distribution of literature) that in any way tends to promote public support or opposition to any
legislative proposal or candidate for public office. (Annual Appropriations Bill)

Review of Evidence Demonstrating Compliance (F):
   o Financial policies review
   o Administrative manual
   o Staff interviews

This expectation was MET.

Areas of Improvement and Required Action (F): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: N/A




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                                    Subrecipient Monitoring

Expectation 1:

Detail a plan for monitoring the delivery of family planning services under the Title X project,
including the monitoring and oversight of subrecipients. (45 CFR § 75.352)

Review of Evidence Demonstrating Compliance (A):
   o TDH Family Planning Administrative Manual
   o 2022 Family Planning Audit Schedule

This expectation was MET.

Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: The Federal and State Monitoring Visit
section of the FP Administrative Manual declares contract agencies will be visited at least every
three years. Currently, FPP staff conduct a site visit to every clinic site during the project period.
This schedule takes a lot of staff time and a chunk of the travel budget. FPP Project Director is
going to consider reviewing a sample of clinic sites during the project period. This should be as
effective as reviewing every clinic site and less of a drain on resources. All Metro clinics will be
reviewed during the project period. TFPP plans to modify the federal review tool for their use.


Expectation 2:

In accepting the award, agree that the award and any activities thereunder are subject to all
provisions of 45 C.F.R. part 75, currently in effect or implemented during the period of the award,
(PA-FPH-22-001 NOFO and Notice of Award Special Terms and Expectations)

Review of Evidence Demonstrating Compliance (F):
   o Review of contracts with metropolitan area health departments

This expectation was MET.

Areas of Improvement and Required Action (F): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: N/A


Expectation 3:

In accordance with 45 CFR § 75.352(d), monitor the activities of the subrecipient as necessary to
ensure that the subaward is used for authorized purposes, in compliance with Federal statutes,

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regulations, and the terms and conditions of the subaward; and that subaward performance goals are
achieved. Recipient monitoring of the subrecipient must include:

   i. Reviewing financial and performance reports required by the recipient.
  ii. Following-up and ensuring that the subrecipient takes timely and appropriate action on all
         deficiencies pertaining to the Federal award provided to the subrecipient from the recipient
         detected through audits, on-site reviews, and other means.
 iii. Issuing a management decision for audit findings pertaining to the Federal award provided to
         the subrecipient from the recipient as required by 45 CFR § 75.521.

Review of Evidence Demonstrating Compliance (A):
   o Sample subrecipient contract
   o Hamilton County Contract
   o SER Site Visit tool 5/18/22
   o Chattanooga-Hamilton Title X Site Review tool 10/22/19
   o TFPP Audit Schedule
   o Chattanooga-Hamilton CHD and Polk CHD site review reports

This expectation was MET.

Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: The sample subrecipient contract and the
Hamilton County contract require subrecipients to provide services in compliance with TDH FPP
Administrative Manual and Program Requirements for Title X Funded Family Planning Projects.
The latter document is no longer in use and has been replaced by the Title X Program Handbook.
Site visit reports for monitoring visits to Hamilton County and SER were provided for review. No
deficiencies were found for Hamilton County. SER had a non-compliance finding regarding the
I&E/advisory committee and review process. SER FPA has organized a committee and will convene
an I&E Advisory Committee meeting in 2022.
• SER 2020 site visit tool showed non-compliance related to I&E/Advisory Committee functions.
    The committee is not active and has not met.
• The Chattanooga-Hamilton Health Department Title X site review tool did not identify any
    administrative issues. The consultant recommended training through RHNTC.

Site visits were not done during 2021 due to COVID and travel restrictions. FPA documentation for
the site visit to Hamilton County Health Department on 3/28/22 was provided for review.
Comprehensive review documented on the checklist with comments as needed. No issues were
identified.

Best Practice Suggestion:
• Revise contracts with subrecipients to remove the reference to "Program Requirements for Title
   X Funded Family Planning Projects" and add the newly released document, Title X Program
   Handbook.
• Revise A.6.d. of contracts with subrecipients to include verification of training regarding
   encouraging family involvement in the decision of minors to seek reproductive health services

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    and counseling minors on how to resist attempts to coerce minors into engaging in sexual
    activities.
•   Revise D.10. Nondiscrimination section of subrecipient contracts to include sexual orientation,
    gender identity, and sex characteristics.


Review of Evidence Demonstrating Compliance (F):
   o Subrecipient contract
   o Subrecipient billing and payment
   o Chart reviews
   o Budget review

This expectation was MET.

Areas of Improvement and Required Action (F): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: N/A


Expectation 4:

Depending upon the recipient’s assessment of risk posed by the subrecipient, employ the following
monitoring tools that may be useful for the recipient to ensure proper accountability and compliance
with program expectations and achievement of performance goals: providing subrecipients with
training and technical assistance on program-related matters; and performing on-site reviews of the
subrecipient's program operations; and arranging for agreed-upon-procedures engagements as
described in 45 CFR § 75.425. (45 CFR § 75.352(e))

Review of Evidence Demonstrating Compliance (F):
   o Interviews regarding subrecipient site visits by health department staff

This expectation was MET.

Areas of Improvement and Required Action (F): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: N/A


Expectation 5:

Verify that every subrecipient is audited as required by Subpart F of 45 CFR Part§ 75 when it is
expected that the subrecipient's Federal awards expended during the respective fiscal year equaled
or exceeded the threshold set forth in 45 CFR § 75.501. (45 CFR § 75.352(f))

Review of Evidence Demonstrating Compliance (F):
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   o   Audit

This expectation was MET.

Areas of Improvement and Required Action (F): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: N/A


Expectation 6:

Consider whether the results of the subrecipient's audits, on-site reviews, or other monitoring
indicate conditions that necessitate adjustments to the recipient’s own records. (45 CFR §
75.352(g)).

Review of Evidence Demonstrating Compliance (F):
   o Subrecipient monitoring documentations

This expectation was MET.

Areas of Improvement and Required Action (F): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: Subrecipient monitoring documentation does
not indicate that adjustments were needed.


Expectation 7:

Consider taking enforcement action against noncompliant subrecipients as described in 45 CFR §
75.371 and in program regulations. (45 CFR § 75.352(h))

Review of Evidence Demonstrating Compliance (F):
   o Interviews with subrecipient and state health department staff

This expectation was MET.

Areas of Improvement and Required Action (F): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: N/A


Expectation 8:

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Provide an opportunity for maximum participation by existing or potential subrecipients in the
ongoing policy decision making of the project. (42 CFR § 59.5(a)(11)(ii))

Review of Evidence Demonstrating Compliance (A):
   o TN Family Planning Program Policy and Procedures
   o Subrecipient Inclusion in Policy Establishment (Eff date 4/1/22; revision date 3/22/22)

This expectation was MET.

Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: TFPP policy states TFPP and TDH will
provide opportunity(s) for contracted agencies and TDH staff to participate in the establishment of
ongoing grantee policies and guidelines. TFPP collaborates with statewide TFPP administrators
and multiple and diverse stakeholders to encourage engagement in guidelines development and
implementation. Proposed policies, processes, standards, and procedures are developed in
collaboration with TDH Community Health Services. The PHNP committee reviews and updates
public health nursing protocols. This Committee includes one PHN from each rural region and one
from two of the metropolitan areas. The Medical Leadership Team provides medical guidance,
reviews, and updates to PH protocols. Proposed policies (or modifications to existing policies) are
presented to the policy review committee for review and recommendation. Additional input comes
from the following: monthly FPA meetings, biannual MCH stakeholders' meetings, continuing
education of health care partners and staff in clinical guidelines, and community health
communication campaigns and education. Regional and Metro Family Planning Administrator
meeting PowerPoint presentations were provided for review, but meeting minutes were not
recorded. TFPP should document input from FPAs.

Best Practice Suggestion: The recipient should maintain minutes of meetings with FPAs. The
minutes should document suggestions for new policies and suggestions/changes to existing policies
and procedures, forms, or other material. Provide feedback to FPAs regarding action taken related
to their input, if any.




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                 Community Education, Participation, and Engagement

Expectation 1:

Provide for opportunities for community education, participation, and engagement to: achieve
community understanding of the objectives of the program; inform the community of the
availability of services; and promote continued participation in the project by diverse persons to
whom family planning services may be beneficial to ensure access to equitable, affordable, client-
centered, quality family planning services. (42 CFR § 59.5(b)(3))

Review of Evidence Demonstrating Compliance (A):
   o TN Family Planning Program Policy and Procedures, Community Awareness and Education
      (eff 4/1/22; rev 3/4/22)
   o State of TN and TDH website
   o Chattanooga-Hamilton County Community Outreach and Education Program Area Annual
      Action Plan FY 2022
   o South East Family Planning Outreach Plan 2022-2023
   o Hamilton County Family Planning Outreach Plan 2022-2023

This expectation was MET.

Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: TFPP has a written policy and procedures to
ensure compliance with this expectation. TFPP developed a community outreach and Education
Program Area Annual Action Plan FY22. The plan describes TFPP and health education staff
efforts to make services known to the target population. FPAs are required to establish and
implement community education and promotional activities. Outreach and education plans were
provided for Hamilton Metro and SER for FY22 and FY 23. The Plans reflect Metro or Region
activities for Recipient goals, objectives, and activities. Promotion and outreach activities are
reviewed biannually by the FPA. Community outreach and education activities were prohibited due
to COVID in FY20 and 21. Some outreach activities have or will take place this fiscal year. Another
outreach tool is the Tennessee Department of Health website. Information is available no matter
what language the user speaks and reads. The website can be translated into a variety of
languages. The Family Planning section of the website advertises telehealth services and includes
the phone number for an appointment. The site includes the following pages: educational
resources, family planning services, healthcare provider resources, and Title X information. The
family planning services page includes the OASH Office of Population Affairs Find a Family
Planning Clinic tool. In addition to a list of family planning services, the page informs clients that
services are confidential, teens or adults are not subjected to discrimination, fees are based on a
sliding fee scale, and no one is turned away due to inability to pay.


Expectation 2:



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Provide, to the maximum feasible extent, an opportunity for participation in the development,
implementation, and evaluation of the project by persons broadly representative of all significant
elements of the population to be served, and by others in the community knowledgeable about the
community’s needs for family planning services. (42 CFR § 59.5(b)(10))

Review of Evidence Demonstrating Compliance (A):
   o TN Family Planning Program Policy and Procedures, Collaborative Planning and
      Community Engagement (eff 4/1/22; rev 3/4/22)
   o Subrecipient Inclusion in Policy Establishment (eff 4/1/22, rev 3/22/22)
   o Polk County and Hamilton County Health Departments I&E/Advisory Committee meetings
      documentation

This expectation was MET.

Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: TDH TFPP Collaborative Planning and
Community Engagement policy and procedure describe the process for compliance with this
expectation. The policy procedure indicates the I&E Advisory Committee or a separate group will
serve in the community participation role. The Advisory Committee membership for the two clinic
sites reviewed is limited and may not include individuals who are knowledgeable about the family
planning needs of the community.

I&E/Advisory Committees reviewed at both sites (Chattanooga-Hamilton CHD and Polk County
Health Department) document committees reviewed the work plan and other information was
presented to the committees but do not include recommendations/comments provided by committee
members.

TDH does not have a written community engagement plan.

The reviewer discussed options for meeting this expectation. For example, TFPP may require FPAs
to expand the size and scope of their I&E Advisory Committees to include representatives from the
community whose focus is reproductive health or seek input from community groups with a
membership that is knowledgeable about reproductive health needs.

Best Practice Suggestion: The recipient should develop a community engagement plan which
describes their process for obtaining input from community members and individuals from the
community knowledgeable about the need for family planning services. Maintain documentation of
the implementation of the plan.




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                             Information and Education (I & E)

Expectation 1:

Have an advisory committee (sometimes referred to as information and education committee) that
reviews and approves print and electronic informational and educational materials developed or
made available under the project, prior to their distribution, to assure that the materials are suitable
for the population or community to which they are to be made available and the purposes of Title
X. The project shall not disseminate any materials which are not approved by the advisory
committee. (Section 1006(d)(1) and (2), PHS Act; 42 CFR § 59.6(a))

Review of Evidence Demonstrating Compliance (A):
   o TN Family Planning Program Policy and Procedures, Materials Review and Approval
      Process (eff 4/1/22; rev 3/4/22)
   o Hamilton CHD I&E Committee Meeting documentation 2020
   o Hamilton CHD I&E Advisory Council meeting (3/23/22)
   o Hamilton CHD Materials Approved Reference Chart (updated 6/13/22)
   o SER I&E Inventory Log

This expectation was MET.

Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: The I&E Materials Review and Approval
Process policy and procedure requires each region, metro, or contracted Family Planning
administrator should establish and implement a material review and approval process for their
service sites. FPAs are required to submit minutes for I&E Advisory committee minutes to the
central office (TDH FP office in Nashville). The process complies with Title X expectations.
Monitoring reports document monitoring for compliance with this expectation. FPP has adopted
RHNTC instructions and templates for the I&E materials review process. These documents are on
the TFPP shared drive.

Hamilton CHD 2020 I&E Committee Meeting documentation shows there are 9 members on the
committee but only 3 participated in this email meeting. The material should be reviewed and
approved by a majority of the committee members. The documentation was sent to the FPP
Administrator. There was no documentation to show feedback.


Expectation 2:

Think specifically about the print and electronic materials they are making available to Title X
clients under the Title X project when considering which materials require review and approval by
the advisory committee. For Title X projects that provide non-Title X services (e.g., hospitals,
health centers), this does not include all possible materials that a Title X client may find on the
organization’s website or as they walk through the building, but only those specific materials that


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are made available to the Title X client under the Title X project and those materials developed
specifically for the Title X client. (2021 Final Rule FAQs)

Review of Evidence Demonstrating Compliance (A):
   o Metro/region I&E materials (print or electronic) inventory
   o Interviews with TFPP Director and FPAs

This expectation was MET.

Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: A review of Hamilton and SER I&E
materials and websites reviewed, and approved inventory shows the documents and websites are
relevant for the project. The Hamilton County inventory included some material that has not been
reviewed since 2012.

Best Practice Suggestion: The recipient should recommend regions and metros and ask their
materials review committees to review material currently in use every 3 to 5 years.


Expectation 3:

Establish and maintain an advisory committee that:
  i.    consists of no fewer than five members and up to as many members the recipient
        determines; and
 ii. includes individuals broadly representative of the population or community for which the
        materials are intended (in terms of demographic factors such as race, ethnicity, color,
        national origin, disability, sex, sexual orientation, gender identity, sex characteristics, age,
        marital status, income, geography, and including but not limited to individuals who belong
        to underserved communities, such as Black, Latino, and Indigenous and Native American
        persons, Asian Americans and Pacific Islanders and other persons of color; members of
        religious minorities; lesbian, gay, bisexual, transgender, and queer (LGBTQ+) persons;
        persons with disabilities; persons who live in rural areas; and persons otherwise adversely
        affected by persistent poverty or inequality). (Section 1006(d)(2), PHS Act; 42 CFR §
        59.6(b))

Review of Evidence Demonstrating Compliance (A):
   o TN Family Planning Program Policy and Procedures, I&E Advisory Committee
      Requirements
   o TN Family Planning Policy and Procedures, Advisory Committee Responsibility for I&E
      Materials
   o TN Family Planning Program Policy and Procedures, I&E Materials Review and Approval
      Process
   o 2022 Administrative Manual, Information & Education Advisory Committee and Material
      Approval
   o Hamilton CHD I&E Committee Meeting documentation (2020)
   o Hamilton CHD Advisory Council Minutes (3/23/22)
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   o SER Community Input Committee and Materials Review Minutes

This expectation was MET.

Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: The Recipient has established policies and
procedures which are in compliance with Title X expectations. The function is delegated to
Regions/Metros or other contracted agencies. Central office staff monitor metros and regions for
compliance. Meeting minutes do not document who reviewed the factual, technical, and clinical
accuracy of the material. Hamilton County demographic forms for the Advisory Committee show
the committee has eight members, five are white and one is African-American/Black. Five members
are between the ages of 23 and 32. Hamilton County population's race and ethnicity show 68%
white, 17% Black or African American, 2% Asian, and 7% Hispanic.

Hamilton CHD Advisory Council Minutes submitted for the 3/23/22 meeting show a committee of
eight members. Demographic forms were submitted for six of the members.

SER Community Input (2020): Minutes include documentation provided. Document review sheets
for documents would have been helpful, but the minutes include criteria considered when reviewing
the documents. The FPA has organized a new committee and plans to convene a meeting this year.

Best Practice: Recommend grant recipient modify I&E Materials Review and Approval Process
policy to include (e.g., print and electronic) to agree with the 2021 Final Rule.

Best Practice: The recipient should ensure I&E/Advisory Committees' membership is broadly
representative of the community served (including non-white, teens, LGBTQ+, etc.) and others in
the community who are knowledgeable about the need for family planning services.


Expectation 4:

Ensure that the advisory committee, in reviewing materials:
      i.   consider the educational, cultural, and diverse backgrounds of individuals to whom the
           materials are addressed;
     ii. consider the standards of the population or community to be served with respect to such
           materials;
    iii. review the content of the material to assure that the information is factually correct,
           medically accurate, culturally and linguistically appropriate, inclusive, and trauma
           informed;
    iv.    determine whether the material is suitable for the population or community to which is
           to be made available; and
     v.    establish and maintain a written record of its determinations. (Section 1006(d)(1), PHS
           Act; 42 CFR § 59.6(b))

Review of Evidence Demonstrating Compliance (A):

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   o TN Family Planning Program Policy and Procedures, I&E Advisory Committee
     Membership (eff 4/1/22; rev 3/4/22)
   o TN Family Planning Program Policy and Procedures, Advisory Committee Responsibility
     for I&E Materials Review (eff 4/1/22; rev 3/4/22)
   o Hamilton CHD 2020 Family Planning I&E Committee Meeting Minutes, Committee
     members' demographic forms
   o SER Advisory Committee members demographic forms

This expectation was MET.

Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: TFPP has established policies and
procedures for complying with these expectations. TFPP policy requires appropriate project staff
to review the factual, technical, and clinical accuracy of all I&E materials developed or made
available under the Title X project. Meeting minutes document the material was reviewed and
approved. Review forms guide the review to assure the committee reviews the material for
education level, cultural and diverse background of the community, standards of the community,
and suitability for the community. TFPP policy states that TFPP will ensure that appropriate
project staff reviews the factual, technical, and clinical accuracy of all I&E materials developed or
made available to the Title X project. Site visit reports show recipients monitor for compliance with
these expectations.

Each region is required to have an I&E Advisory Committee to review all materials and ensure
they are appropriate for identified/targeted populations.

Hamilton CHD I&E Committee Meeting documentation is for 2020. The diversity of the committee
looks good, but based on the meeting participation (e.g., via email) members are not active. Only
three members participated in the email meeting. This number is less than half the committee. The
documentation was emailed to the FPP Administrator. The 3/23/22 meeting minutes include a
description of the project information provided to the committee, but do not document if the
committee was given an opportunity to provide input. The county is very diverse, but the committee
membership has one African American and the remaining five are white. The committee does have
two males. Five members are between the ages of 23 and 32.

Best Practice Suggestion: The recipient should ensure that I&E/Advisory Committee meeting
minutes document committee members were given an opportunity to provide suggestions/comments
related to the program information provided.




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                                          Staff Training

Expectation 1:

Provide for orientation and in-service training for all project personnel. (42 CFR § 59.5(b)(4))

Review of Evidence Demonstrating Compliance (A):
   o TN Family Planning Program Policy and Procedures, Staff Training and Project Technical
      Assistance (Eff 4/1/22; Rev 3/2022)
   o TDH Family Planning Administrative Manual (03/22), Training Requirements for Family
      Planning Staff
   o PHN Orientation & Practice Manual 2022 (rev 4/22)
   o 2021 Annual Family Planning Training
   o Family Planning Training Plan

This expectation was MET.

Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: PHN Orientation & Practice Manual 2022
Section III Orientation Guidelines for Nursing Personnel defines the orientation process for new
public health nurses. The assigned preceptor and local health department staff work with the
orientee to provide guidance and support in implementing the orientation plan. Skills are
demonstrated and the orientee's competent return demonstration is documented on the Skills
Orientation Checklist.

The grant recipient has a robust training program. Staff complete training from the RHNTC and
training developed in-house. Acknowledgment forms for training are signed when training is
complete and certificates of completion are attached.

The Title X Requirements Acknowledgement form can be used to acknowledge that FP staff have
read and understand key Title X expectations such as non-discrimination, voluntary services, non-
coercion, prohibitions on abortion, client confidentiality, and translation services.

Certificates of Completion for the 2021 National Reproductive Health Conference: Virtually
Unstoppable were submitted to staff in SER and Hamilton.

2021 Annual Family Planning Training must be revised to reflect the changes in the Final Rule.


Expectation 2:

Ensure routine training of staff on Federal/State expectations for reporting or notification of child
abuse, child molestation, sexual abuse, rape or incest, as well as on human trafficking. (Legislative
Mandate set out in the Annual HHS Appropriations Act)


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OPA's expectation is that routine training would happen on an annual basis. In addition, OPA
recommends Title X recipients and subrecipients provide routine training in accordance with the
RHNTC's Title X Training Expectations Summary Job Aid.

Review of Evidence Demonstrating Compliance (A):
   o TN Family Planning Program Policy and Procedures, Staff Training, and Project Technical
      Assistance.
   o TN Family Planning Program Policy and Procedures, Compliance with Legislative
      Mandates (eff 4/1/22; rev 3/2022
   o   TDH Family Planning Administrative Manual (03/22), Training Requirements for Family Planning
       Staff
   o   Title X Family Planning Training Plan (11/21)
   o   Title X: Mandatory Reporting Acknowledgement form
   o   Human Trafficking 2022 Training Acknowledgement form
   o   Hamilton CHD Title X Mandatory Training Verification Report FY 22
   o   SER staff PHN Orientation Checklist (2022)
   o   SER annual FP mandatory training

This expectation was MET.

Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: TDH policy requires all TFPP staff to
complete annual training on laws regarding notification or reporting of child abuse, child
molestation, sexual abuse, rape, or incest, intimate partner violence, as well as on human
trafficking; and annual training on involving family members in the decision of minors to seek
family planning services and on counseling minors on how to resist being coerced into engaging in
sexual activities.

TFPP Clinical Trainer sends emails to staff with training acknowledgment forms for required
training attached. These acknowledgment forms include links to the training provider site (RHNTC,
state, etc.). Staff will receive reminder emails until the completed form with certificates of
completion attached are returned to the TFPP Clinical Trainer. The Training Plan provided for
review included all FPP staff training on these topics upon initial employment orientation and at
least annually thereafter. Spreadsheets showing training completed by Hamilton Metro and SER.
The Clinical Services Training.

Legislative Mandates Policy: State recipients will adhere to legislative mandates through policy
creation, implementation, and monitoring.

Administrative Manual: Training requirements for Family Planning Staff list include training on
Family Planning policies and procedures as follows: Family Planning Policies and Procedures,
Title X Requirements and Priority Areas, Mandatory Report (Child Abuse), Intimate Partner
Violence, Human Trafficking, Cultural Competency, and Sexual coercion avoidance education for
adolescents.



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The Title X Training Plan lists the following annual training: Voluntary Participation, Acceptance
of Family Planning Services not a Prerequisite for Eligibility or Services, Prohibition of Abortion,
Confidentiality, Cultural Competency/Humility, Facilities and Accessibility of Services, Mandatory
Report, State, Human Trafficking, Family Involvement, Counseling Minors to Resist Sexual
Coercion, and Non-Discrimination.


Expectation 3:

Ensure routine training on involving family members in the decision of minors to seek family
planning services and on counseling minors on how to resist being coerced into engaging in sexual
activities. (Legislative Mandate set out in the Annual HHS Appropriations Act)

Review of Evidence Demonstrating Compliance (A):
   o TN Family Planning Program Policy and Procedures, Staff Training and Project Technical
      Assistance.
   o Title X Consideration of Minors Acknowledgement form
   o TDH Family Planning Administrative Manual (03/22), Training Requirements for Family
      Planning Staff
   o Title X Family Planning Training Plan (11/21)
   o Documentation of training

This expectation was MET.

Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: Policy shows new TFPP staff are required to
complete a project orientation that includes involving family members in the decision of minors to
seek FP services and on counseling minors on how to resist being coerced into engaging in sexual
activities. The Training Plan for TFPP staff including training on these expectations.

Documentation of training on these expectations was provided for review. Title X Consideration of
Minors Acknowledgement form along with certificates of completion may be used to document
family planning staff have completed the RHNTC training Counseling Adolescent Clients to
Encourage Family Participation and Counseling Adolescent Clients to Resist Sexual Coercion.




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              Quality Improvement and Quality Assurance (QI & QA)

Expectation 1:

Develop and implement a quality improvement and quality assurance plan that involves collecting
and using data to monitor the delivery of quality family planning services, inform modifications to
the provision of services, inform oversight and decision-making regarding the provision of services,
and assess patient satisfaction. (PA-FPH-22-001 NOFO and Notice of Award Special Terms and
Expectations)

Review of Evidence Demonstrating Compliance (A):
   o FY 22 Competitive Application State of Tennessee
   o Patient Tracking (PTBMIS)
   o Quality Assurance & Improvement Manual (July 2021)
   o TN Family Planning Administrative Manual
   o FPAR Reports (2021, 2019-2022)
   o Site Visit Reports

This expectation was MET.

Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: The TFPP program currently uses TDH's
Patient Tracking Billing Management Information System (PTBMIS) to collect client encounter
data. TFPP will transition to FPAR 2.0 beginning in CY2022 and will report partial record-level
data and the preferred approach outlined in the FPAR 2.0 Implementation Guide (October 2021).
TDH is in the process of implementing a new EHR and phasing out the current system.

The QI/QA Work Plan includes calculating by state and by demographic/geographic subgroups
contraceptive care performance measures: 1) the percentage of women aged 15-44 years at risk of
unintended pregnancy that is provided a most effective or moderating effective contraceptive
method, and 2) the percentage of women aged 15-44 years at risk of unintended pregnancy that is
provided a long-acting reversible contraceptive method. Additional plans include piloting the use of
the Person-Centered Contraceptive Counseling (PCCC) measure created by the University of
California San Francisco at one or more clinics, and a FP telehealth client satisfaction survey.
TDH does not have a QI/QA policy and procedure.

Templates were provided for Hamilton County Health Department for chart and facility audits. A
completed chart audit report was also provided. A 30-day Improvement Plan for the 10/12/21 site
visit was available for review.


Review of Evidence Demonstrating Compliance (C):
   o Recipient policy and procedures regarding QI/QA
   o Recipient QI/QA Work Plan
   o Clinic Review tools Family planning Telehealth Study, February 2022

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   o Patient Satisfaction Results

This expectation was MET.

Areas of Improvement and Required Action (C): N/A

Technical Assistance: TFPP has over 120 sites in 13 regions which they attempt to review once
each grant cycle. The reviewer discussed ways to prioritize which sites to review, e.g., those
perceived to have challenges, in order to make these reviews more manageable for the 3-person
review team that travels year-round.

Best Practices Suggestions & Additional Comments: Recipient staff conduct site visits to review
staff performance in clinical care, fiscal responsibility, and program administration at every
project site at least once every project period. If deficiencies are identified during the site visit, a
corrective action plan is assigned. The TFPP has procedures in place to follow up and ensure the
implementation of the corrective action plan.


Expectation 2:

Address oversight and service provision at the recipient level, the subrecipient level, and the service
site level within their QI/QA plan. (PA-FPH-22-001 NOFO and Notice of Award Special Terms
and Expectations)

Review of Evidence Demonstrating Compliance (A):
   o Quality Assurance & Improvement Manual (July 2021)
   o Office of Quality Improvement meeting minutes

This expectation was MET

Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: Chattanooga-Hamilton County Health
Department Quality Improvement Office does chart reviews, credentialing, risk minimization
audits, internal lab training and check-offs, and help with the maintenance of equipment (e.g.,
timing for service), infection control, and help in updating protocols. Deficiencies identified require
corrective action plans. Chart audits on new employees and each clinic site have general chart
audits every six months. Peer audits are completed two times per year. Proficiency testing for CLIA
lab certification.


Expectation 3:

Submit a Family Planning Annual Report (FPAR). The information collection (reporting
expectations) and format for this report have been approved by the Office of Management and
Budget (OMB) and assigned OMB No. 0990-0479 (Expires 9/30/2024). The FPAR data elements,
instrument, and instructions are found on the OPA Web site at http://opa.hhs.gov. Recipients are
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expected to use the FPAR data to inform their QI/QA activities. (PA-FPH-22-001 NOFO and
Notice of Award Special Terms and Expectations)

Review of Evidence Demonstrating Compliance (A):
   o FY 22 Competitive Application State of Tennessee
   o TN Family Planning Administrative Manual
   o Chattanooga-Hamilton CHD QI Office
   o FPAR (by clinic level, metro, regional)

This expectation was MET.

Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: Considering the impact of COVID, FPAR
looks fairly reasonable. The number and percent of users who are male is very low (less than 3%).
The 3-year report also shows the percentage of users that were male has been low over the 3-year
period. TN FPP staff is working on improving these numbers, specifically working with the STD
program to provide family planning services information for male clients.

Epidemiologist utilizes family planning service information (FPAR) in combination with mapping
to identify outreach areas. She has generated a variety of maps for the TFPP Project Director.

TN Family Planning Administrative Manual, Family Planning Annual Report section states TFPP
uses TDH's Patient Tracking Billing Management Information System (PTBMIS) and the EHR to
collect client encounter data. All metro and local health departments currently report data from
client encounters through PTBMIS.




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                                   Prohibition of Abortion

Expectation 1:

Not provide abortion as a method of family planning as part of their Title X project. (Section 1008,
PHS Act; 42 CFR § 59.5(a)(5))

Review of Evidence Demonstrating Compliance (A):
   o TN Family Planning Program Policy and Procedures, Prohibition of Abortion & Referral for
      Abortion (Effective Date 4/1/22 Revision Date 3/4/22)
   o 2010 Tennessee Code Title 9 - Public Finances, Chapter 4 - State Funds, State Budget and
      Appropriations, Part 51 - State Budget and Appropriations 9-4-5116 - Abortion Funding
   o TN Family Planning Administrative Manual (March 2022)
   o Subrecipient contracts
   o TN PHN Protocols
   o Hamilton County Health Department Family Planning Standards 2021 (rev 04/04/22)

This expectation was MET.

Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: TN Family Planning Program has
established policies and procedures stating that the project does not provide abortion as a method
of family planning. The policy requires TFPP Family Planning staff to offer clients with positive
pregnancy tests all options counseling and referrals upon request. Following the release, staff will
provide neutral, factual information and nondirective counseling, and referral upon request on the
options the pregnant client expressed an interest in. Grant recipient contracts and subcontracts
must include language addressing this expectation and documentation of the training provided.
Subrecipient contracts prohibit subrecipient agencies from using Title X funds for abortion or
abortion-related services. The contract requires compliance with the TN Family Planning Program
Administration Manual. Following the release of the 2021 Final Rule, TDH issued a Program
Memorandum (11/7/21) that included a description of changes included in this rule. The
memorandum included a brief description of the expectation to offer pregnant clients all options for
counseling and referral (upon request). Staff signed a 2021 Final Federal Rule Title X Rule
Changes Acknowledgement form. Subrecipient contracts prohibit subrecipient agencies from using
Title X funds for abortion or abortion-related services to comply with Section 1008 of the Title X
statute and 42 CFR 59.5(a)(5). The contract requires compliance with Title X and the TN Family
Planning Program Administration Manual.

TN AB law prohibits the use of state funds for abortion services with two exceptions: pregnancy is
the result of rape or incest, or a woman suffers from a physical disorder, physical injury, or
physical illness, including a life-endangering physical condition caused by or arising from the
pregnancy itself.


Expectation 2:

                                                                                                  58
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Prohibit providing services that directly facilitate the use of abortion as a method of family
planning, such as providing transportation for an abortion, explaining and obtaining signed abortion
consent forms from clients interested in abortions, negotiating a reduction in fees for an abortion,
and scheduling or arranging for the performance of an abortion, promoting or advocating abortion
within Title X program activities, or failing to preserve sufficient separation between Title X
program activities and abortion-related activities. (65 Fed. Reg. 41281 (July 3, 2000))

Review of Evidence Demonstrating Compliance (A):
   o TN Family Planning Program Policy and Procedures, Prohibition of Abortion & Referral for
      Abortion (Effective Date 4/1/22 Revision Date 3/4/22)
   o PHN Protocol, Pregnancy Testing
   o TN Family Planning Program Policy and Procedures, Conscientious Objection to Abortion
      Counseling & Referral
   o Subrecipient contract
   o TN Family Planning Program Administrative Manual
   o TN Department of Health Title X Assurances signed by Assistant Commissioner
      (1/10/2019)
   o Hamilton County Health Department Family Planning Standards 2021 (rev 04/04/22)
   o Subrecipient contract

This expectation was MET.

Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: Grant recipient established policies and
procedures to describe the process for ensuring compliance with expectations that prohibit
providing, promoting, referring for, or supporting abortion as a method of family planning, and
referring to abortion as a method of family planning. Policies and protocols are in compliance with
Title X expectations and the 2021 Final Rule.

TN Family Planning Program Policy and Procedures, Prohibition of Abortion & Referral for
Abortion complies with Final Rule. PHN Protocol, Pregnancy Testing, aligns with the Final Rule.
The protocol does allow for PHNs with a conscientious objection to counseling on termination to
turn the client over to someone to do that counseling. It could be another staff member or FP
telehealth services to meet the client's needs.

Conscientious Objection to Abortion Counseling & Referral policy establishes a policy and
procedure for clinical staff who declare a conscientious objection to pregnancy termination to
immediately defer pregnancy and all options counseling to another clinician.

Subrecipient contracts prohibit the use of Title X funds for abortion or abortion-related services in
compliance with section 1008.


Expectation 3:

                                                                                                   59
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Prohibit promoting or encouraging the use of abortion as a method of family planning through
advocacy activities such as providing speakers to debate in opposition to anti-abortion speakers,
bringing legal action to liberalize statutes relating to abortion, or producing and/or showing films
that encourage or promote a favorable attitude toward abortion as a method of family planning.
Films that present only neutral, factual information about abortion are permissible. A Title X
project may be a dues paying participant in a national abortion advocacy organization, so long as
there are other legitimate program-related reasons for the affiliation (such as access to certain
information or data useful to the Title X project). A Title X project may also discuss abortion as an
available alternative when a family planning method fails in a discussion of relative risks of various
methods of contraception. (65 Fed. Reg. 41281, 41282 (July 3, 2000))

Review of Evidence Demonstrating Compliance (A):
   o Interviews with Project Director

This expectation was MET.

Areas of Improvement and Required Action (A): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: The recipient does not participate in
prohibited activities.

In addition, the Director stated that TDH service sites are allowed to provide resource lists to
clients seeking information on pregnancy termination sites. TDH FPP forms, policies, etc. are
under review by TDH legal staff and expect a decision on what they are allowed to provide to or
say to clients seeking pregnancy termination counseling and referral. Staff are concerned they will
not be allowed to provide counseling. No pregnancy termination/abortion brochures are available
to clients.


Expectation 4:

Ensure that non-Title X abortion activities are separate and distinct from Title X project activities.
Where recipients conduct abortion activities that are not part of the Title X project and would not be
permissible if they were, the recipient must ensure that the Title X-supported project is separate and
distinguishable from those other activities. What must be looked at is whether the abortion element
in a program of family planning services is so large and so intimately related to all aspects of the
program as to make it difficult or impossible to separate the eligible and non-eligible items of cost.
The Title X project is the set of activities the recipient agreed to perform in the relevant grant
documents as a condition of receiving Title X funds. A grant applicant may include both project
and non-project activities in its grant application, and, so long as these are properly distinguished
from each other and prohibited activities are not reflected in the amount of the total approved
budget, no problem is created. Separation of Title X from abortion activities does not require
separate recipients or even a separate health facility, but separate bookkeeping entries alone will not
satisfy the spirit of the law. Mere technical allocation of funds, attributing federal dollars to non-
abortion activities, is not a legally supportable avoidance of section 1008. Certain kinds of shared
facilities are permissible, so long as it is possible to distinguish between the Title X supported
activities and non-Title X abortion-related activities:
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       i.      a common waiting room is permissible, as long as the costs properly pro-rated,
       ii.     common staff is permissible, so long as salaries are properly allocated, and all
       abortion related activities of the staff members are performed in a program which is entirely
       separate from the Title X project,
       iii.    a hospital offering abortions for family planning purposes and also housing a Title X
       project is permissible, as long as the abortion activities are sufficiently separate from the
       Title X project, and
       iv.     maintenance of a single file system for abortion and family planning patients is
       permissible, so long as costs are properly allocated. (65 Fed. Reg. 41281, 41282 (July 3,
       2000)

Review of Evidence Demonstrating Compliance (F):
   o Review of administrative manuals
   o Tour of service sites
   o Review of cost allocations
   o Review of invoicing
   o Review of services being provided

This expectation was MET.

Areas of Improvement and Required Action (F): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: N/A


Expectation 5:

A Title X project may not provide pregnancy options counseling which promotes abortion or
encourages persons to obtain abortion, although the project may provide patients with complete
factual information about all medical options and the accompanying risks and benefits. While a
Title X project may provide a referral for abortion, which may include providing a patient with the
name, address, telephone number, and other relevant factual information (such as whether the
provider accepts Medicaid, charges, etc.) about an abortion provider, the project may not take
further affirmative action (such as negotiating a fee reduction, making an appointment, providing
transportation) to secure abortion services for the patient. (65 Fed. Reg. 41281 (July 3, 2000))

Review of Evidence Demonstrating Compliance (C):
   o Pregnancy Testing Policy
   o Staff interview

This expectation was MET.

Areas of Improvement and Required Action (C): N/A



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Technical Assistance: The reviewer recommended that the Polk-Benton clinic include abortion
providers in nearby states (since there are no abortion providers in Tennessee) for those patients
requesting this information due to an unintended pregnancy.

Best Practices Suggestions & Additional Comments: All staff have received training regarding the
prohibition of abortion-related activities.


Expectation 6:

Where a referral to another provider who might perform an abortion is medically indicated because
of the patient's condition or the condition of the fetus (such as where the woman's life would be
endangered), such a referral by a Title X project is not prohibited by section 1008 and is required by
42 CFR § 59.5(b)(1). The limitations on referrals do not apply in cases in which a referral is made
for medical indications. (65 Fed. Reg. 41281 (July 3, 2000))

Review of Evidence Demonstrating Compliance (C):
   o Staff interviews
   o Pregnancy protocol
   o Pregnancy referral list (Hamilton)

This expectation was MET.

Areas of Improvement and Required Action (C): N/A

Technical Assistance: N/A

Best Practices Suggestions & Additional Comments: The grant recipient is compliant with this
expectation.




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                 Quality Family Planning Implementation Assessment

This portion of the assessment follows the recommendations detailed in Providing Quality
Family Planning Services: Recommendations of CDC and the U.S. Office of Population Affairs
(QFP), which focuses on service provision consistent with the best available scientific evidence.

***Please review the QFP Clinical Assessment Checklist (Supplement Review Tool for Admin
and Clinical reviewers) separately submitted.




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